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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. _SA CV 19-01805-DOC-(JDEx) Date: June 17, 2021
Title PINN, INC. V. APPLE INC.

 

 

Present: The Honorable: DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

 

 

 

Karlen Dubon Debbie Gale / Deborah Parker
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Ryan E Hatch Christopher S Marchese
Cabrach J Connor Seth M. Sproul
David A Skeels Tucker Nephi Terhufen
Jennifer A Tatum Lee Joy B Kete
John W Thornburgh

PROCEEDINGS: FINAL PRETRIAL CONFERENCE and MILS (Held and Completed)

Case called. Court and counsel confer regarding the Motions in Limine and Final Pretrial
Conference. The Court hears argument from counsel. The Court makes rulings and sets
deadlines as stated on the record. The Court’s order will issue regarding the Motions in Limine.

I: 15
Initials of Preparer kd

 

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